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lN THE UNITED`STATES_ DISTRICT MB§TA£§B B D
ALBUQUEF;Q ` F.- 13 T'JV'C T` COUnr

FOR THE DISTRI¢T or NEW MExrcO - " E MEX)@O
DIAMOND BAR CATTLE COMPANY n JUL -2 2 2005
md LANi;Y cAr'rLE eOMPANY _ _l MATTHEW J
P\aimiffs, - ¢ _ _ _ -' _ C,_ EH-KDYKMAN
vs. . ' .- el\_/IL NO. 96-437 WJ/Les_

uNITED sTATE`s OF AMF.RLCA;
ANN VENEMAN, Seeretary of
the United States Department Of
Agrieulture; and U.S.D.A.
Fnrest Serviee,

Defendanrs.

STIPULATED ORDER TO EXTEND DEADLINE FOR FILING BRIEFS _
REGARDING DUE PROCESS AND AGENCY REGULATIONS

Tl'lIS MATTER having come before the Ct)urt nn the stipulatit)n t)f the parties
that the deadlines to tile briefs set 0th in the Orde_r filed on ]_nne 29, 2005 [Deeltet No. 138]
should be extended, and the Cnurr heing,1 fully advised.

lT lS HEREBY ORDERED that the briefing schedule as set nut in Doeket Nn.
138 is extended such that the United States` brief shall he -filed nn or before /\ugust 22, 2005.
Sherry Farr's response hrief, and any brief to be tiled by the liitervent)rs, shall he filed within 30
days after the United States’ brief is filed. _

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rr 13 50 ORDERED. . / /,

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UNlTEn s_TA'rEs t)ls®icr JUDGE

 

 

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t_.), Case 1:96-CV-OO437-W.]-LCS Document 140 Filed 07/22/_05 Page 2 of 2

APPROVED: -

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Alhuquerque. NM 37102
(505) 346-7224
For the Un¢`red Srrrtes of America

at)f)rr)ued via far bv Sheir'nrl Farr 7-15-05
Sherry-' Farr, Pro Se

HC~JO. Box 470

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approved by Thomas D. Lusrirz br telephone on 7-14»2005
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